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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    WESTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                    No. 1:20cr0010-01-JAJ
 vs.

                                                                       ORDER
 CASEY RAY GANTT,
                 Defendant.

        This matter comes before the court pursuant to the defendant’s August 14, 2020 Motion to
Extend Plea Deadline. [Dkt. 70] The court held a hearing on this motion on August 28, 2020 at
which the defendant was represented by Joe Hrvol. Mr. Hrvol informed the court that there have
been some delays in finalizing a plea agreement because of a pending state parole revocation. The
court suggested that the matter be set for trial on September 28 with a plea entry deadline of
September 14. Mr. Hrvol indicated that this is enough time to complete remaining matters.
        The court finds that the ends of justice served by a continuance outweigh the interest of the
defendant and the public in a speedy trial. The time between the filing of this motion and the
newly reset trial date is hereby excluded from consideration under the Speedy Trial Act's
requirement of a trial within seventy days following arraignment. Specifically, the court finds that
the continuance is necessary and reasonable to afford the defendant adequate opportunity to
prepare for trial.
        Upon the foregoing,
        IT IS ORDERED that trial of this matter is continued until Monday, September 28, 2020
at 9:00 a.m. in Council Bluffs. For the defendant to be assured of receiving the third level off for
acceptance of responsibility, any guilty plea needs to be entered on or before September 14, 2020.
        DATED this 31st day of August, 2020.
